      Case 1:10-cr-00086-RWS-ECS Document 918 Filed 06/07/13 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA                  :
                                          : CRIMINAL ACTION
v.                                        :
                                          : NO. 1:10-cr-086-RWS
EDWIN MENJIVAR                            :


     REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1

       The defendant, Edwin Menjivar (“defendant”), by consent, has appeared

before the undersigned United States Magistrate Judge and has entered a plea of

guilty to Counts One and Twenty of the Indictment.           After cautioning and

examining the defendant under oath concerning each of the subjects mentioned in

Rule 11, I have determined that the guilty plea was knowing and voluntary, and that

the plea to the offenses charged is supported by an independent basis in fact

establishing each of the essential elements of the offenses. I have also determined

that, to the maximum extent permitted by federal law, the defendant has voluntarily

and expressly waived his right to appeal the conviction and sentence and the right

to collaterally attack his sentence in any post-conviction proceedings, including by




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        Failure to file written objections to this Report and Recommendation within
FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
    Case 1:10-cr-00086-RWS-ECS Document 918 Filed 06/07/13 Page 2 of 2




motion filed pursuant to 28 U.S.C. § 2255, on any ground, except that the defendant

may file a direct appeal of an upward departure or a variance from the sentencing

guideline range as calculated by the district court, and if the Government appeals

the sentence imposed, the defendant may also file a cross-appeal of that same

sentence. It is, therefore, RECOMMENDED that the plea of guilty be accepted and

that the defendant be adjudged guilty and have sentence imposed accordingly.

      IT IS SO RECOMMENDED this 7th day of June, 2013.



                                      RUSSELL G. VINEYARD
                                      UNITED STATES MAGISTRATE JUDGE




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